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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,                                        CASE NO. 20-CR-20245-RNS-1

                          Plaintiff,
  vs.

  JONATHAN GUERRA BLANCO,

                    Defendant.
  ________________________________/

                   DEFENDANT, JONATHAN GUERRA BLANCO’S
        REPLY TO GOVERNMENT’S RESPONSE TO DEFENDANT’S OBJECTIONS TO
                     PRESENTENCE INVESTIGATION REPORT

          COMES NOW the Defendant, JONATHAN GUERRA BLANCO, by and through his

  undersigned counsel, and presents herewith, his Reply to Government’s Response to Defendant’s

  Objections to the Presentence Investigation Report, and states as follows:

          The Government’s response asserts the Defendant produced for dissemination videos on

  behalf of ISIS calling for violent jihad, in various foreign languages; that as a result thereof the

  Defendant’s conduct expanded the reach of ISIS violence to the entire Spanish-speaking world,

  and that the purpose of disseminating these violent videos was to further the influence and promote

  the message of ISIS.

          At the risk of being overly repetitive, the requirements for the application of the “Terrorist

  Enhancement” will be briefly set forth herein solely with regard to the narrow issue at hand, to

  wit: Whether Jonathan Guerra Blanco’s own intent and offense conduct was calculated to influence

  or affect the conduct of government by intimidation or coercion, or to retaliate against government

  conduct?

          The term “federal crime of terrorism” is defined as “an offense that is ... calculated to

  influence or affect the conduct of government by intimidation or coercion, or to retaliate against
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  government conduct,” 18 U.S.C. § 2332b(g)(5)(A), and that “is a violation of” certain enumerated

  statutes, 18 U.S.C. § 2332b(g)(5)(B). Both parts of §2332b(g)(5) must be satisfied for the

  enhancement to apply. See United States v. Tankersley, 537 F.3d 1100, 1113 (9th Cir. 2008);

  United States v. Parr, 545 F.3d 491, 504 (7th Cir. 2008).

          The material support statute, by contrast, requires proof that a defendant attempted to,

  conspired to, or did provide “material support or resources to a foreign terrorist organization,”

  knowing “that the organization is a designated terrorist organization” or “that the organization has

  engaged or engages in terrorism.” 18 U.S.C. § 2339B(a)(1). It is possible for a defendant to

  provide material support to a terrorist group in violation of 18 U.S.C. § 2339B(a)(1) without

  intending that the support or resources would influence, affect, or retaliate against government

  conduct to satisfy the first prong of the definition of federal crime of terrorism. See, e.g., United

  States v. Chandia (Chandia I), 514 F.3d 365, 376 (4th Cir. 2008)

         First, there is no question that the offense to which the Defendant has entered his plea of

  guilty is one of the enumerated offenses. However, the Government has a problem with regard to

  the other requirement, that Jonathan Guerra Blanco’s own intent and conduct was calculated to

  influence or affect the conduct of government by intimidation or coercion, or to retaliate against

  government.

         To try to overcome that burden, the Government attempts to back-track from the recent

  Eleventh Circuit Court of Appeals’ opinion in United States v. Francisco Joseph Arcila Ramirez,

  16 F.4th 844 (11th Cir. 2020), decided November 1, 2021, where the Eleventh Circuit vacated

  Arcila Ramirez’s sentence and remanded the case for resentencing and fact findings as to whether

  Arcila Ramirez's offense conduct was “calculated” to influence, affect, or retaliate against

  government conduct, and whether he had the specific intent to do so. The Government in its

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  response essentially asks this Honorable Court to ignore the Arcila Ramirez case, and only look to

  the prior case law that was somewhat distinguished by the Arcila Ramirez court in various

  respects.1

         The Arcila Ramirez court held as an apparent matter of first impression that, (1) to satisfy

  the “calculated” prong of the statute defining a federal crime of terrorism, the Government must

  show that the Defendant's offense conduct was planned to influence, affect, or retaliate against

  government conduct, and (2) that the imposition of the terrorism sentencing increase was

  erroneous in that case. Further, the court stated that “calculated” imposes an intent requirement,

  and for U.S.S.G. §3A1.4 to apply, the Government must satisfy the “calculated” prong

  of §2332b(g)(5)(A). To do that, the government must show that the defendant's offense conduct

  was planned to influence, affect, or retaliate against government conduct, even if that was not the

  Defendant's personal motive. (Emphasis supplied.)

         Ultimately, the Arcila Ramirez court found that “with no “calculated” or specific intent

  finding at all, the district court erred in applying §3A1.4’s terrorism enhancement.” (Emphasis

  supplied.)

         In the case at bar, the Government attempts to answer the “calculated” and “specific

  intent” questions, by pointing to the following conduct:

         ● That the Defendant translated a document into Spanish that had been previously
         published in English in 2010, when the Defendant was fourteen (14) years old. The
         document provided Spanish-translated encouragements and instructions on how to
         effectively conduct a vehicle attack against pedestrian targets.




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    It is interesting to note that the argument contained within the Government’s response in this
  case is substantially identical to the argument that was put forth by the Government in the Arcila
  Ramirez case regarding the applicability of the Terrorism Enhancement.

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         It is submitted that this was not offense conduct that is ... calculated to influence or affect

  the conduct of government by intimidation or coercion, or to retaliate against government conduct.

         ● That the Defendant produced and coordinated the dissemination of a video which
         threatened and encouraged terrorist attacks in Madrid, Spain, on behalf of ISIS. The video,
         was reported by Spanish news outlets, and included video footage of Christmas
         celebrations at a landmark public square in Madrid. The video featured narration and
         subtitles which stated, among other things, "don't let them celebrate in peace," and "kill
         them, give them jihad!" As a result of the video's release, a planned concert of Venezuelan
         musicians at the public square was cancelled, citing the terrorist threat.

         It is submitted that this was not offense conduct that is ... calculated to influence or affect

  the conduct of government by intimidation or coercion, or to retaliate against government conduct.

  Further, it should be noted that the concert of Venezuelan musicians at the Christmas celebration

  at the public square was planned and organized by a Non-Governmental Organization (“NGO”).

         Further, the interruption or cancellation of a concert is not a governmental function, unlike

  what happened in Washington on January 6, 2021, which was an insurrection and clearly interfered

  with a governmental function, to wit: accepting and certifying election results.

         Lastly, in the Government’s efforts to show that the Defendant’s conduct was “calculated

  to influence or affect the conduct of government by intimidation or coercion, or to retaliate against

  government conduct,” the Government notes that the Defendant agreed that:

             ISIS engages in and has engaged in terrorist activity and that ISIS engages in
             and has engaged in terrorism…. ISIS has equated the value of propaganda on
             its behalf to that of ISIS soldiers waging violence… ISIS has called for people
             to contribute their social media services to its cause to invigorate its terrorists....
             ISIS use[s] these online tools [social media applications, video sharing sites,
             and other internet-based sites and applications] to distribute their official
             communications inexpensively, safely, and broadly. In addition, ISIS … use[s]
             these online tools to communicate (publicly and privately) with sympathizers
             and potential recruits, and to distribute their … messages to legitimate media
             outlets, in order to draw attention to the organization, recruit new members,
             raise money, and promote violent jihad, all in an effort to carry out the
             terrorism related goals of the organization. (Emphasis supplied.)


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         The Government then states in-part, “… as a general matter, the defendant pleaded guilty

  to attempting to provide material support to ISIS and admitted in the Statement of Facts that he

  knew ISIS engages and engaged in terrorism, and agrees that terrorism involves acts that appear

  to be intended to “intimidate or coerce a civilian population, to influence the policy of government

  by intimidation or coercion, or to affect the conduct of a government,” the Government then asserts

  that, “all three of which answer in the affirmative the question at issue: whether defendant’s

  conduct was “calculated to influence or affect the conduct of government by intimidation or

  coercion, or to retaliate against government conduct.” (Emphasis supplied.) Arcila Ramirez, at

  849-850; U.S.S.G. § 3A1.4(a).

         Most respectfully, the above statement of the Government demonstrates with crystal clarity

  that they are in lock-step with the erroneous application of the Terrorism Enhancement that Arcila

  Ramirez found, since it was based solely on the belief that the mere fact that the Defendant had

  pled guilty to knowingly providing material support to a known foreign terrorist organization per

  se triggered the terrorism enhancement.

         The conduct of the Defendant was not calculated to influence or affect government conduct

  by intimidation or coercion just because he knew he was providing “support” to ISIS sympathizers

  and knew that ISIS is a terrorist organization. It is simply wrong to conclude that since any support

  given to a terrorist organization ultimately inures to the benefit of its terrorist purposes, and that

  this is sufficient to apply the terrorist enhancement. See Holder v. Humanitarian Law Project, 561

  U.S. 1, 29, 130 S.Ct. 2705, 177 L.Ed.2d 355 (2010). This reasoning, that since any support given

  to a terrorist organization ultimately inures to the benefit of its terrorist purposes, misses the mark

  in the context of the terrorism enhancement because it fails to properly differentiate between the



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  intent required to sustain a material support conviction pursuant to 18 U.S.C. §2339B(a)(1) and

  the intent required to trigger the terrorism enhancement pursuant to U.S.S.G. §3A1.4.

         The material support statute requires only that the defendant have “knowledge of the

  foreign group’s designation as a terrorist organization or the group’s commission of terrorist acts.”

  Section 3A1.4, in contrast, requires the defendant’s specific intent that the offense conduct

  “influence or affect the conduct of government by intimidation or coercion.” 18 U.S.C. §

  2332b(g)(5)(A).

                                                        Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 24th day of January, 2022, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties either via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

  counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.




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                                Case No. 20-CR-20245-RNS-1
                   United States District Court, Southern District of Florida

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